                Case 23-30944               Doc 12          Filed 12/21/23               Entered 12/21/23 15:14:51                          Page 1 of 11
 Fill in this information to identify your case:

  Debtor 1           HEATHER                  ANN                      O'BRIEN TRECIOKAS
                     First Name               Middle Name             Last Name

  Debtor 2
  (Spouse, if filing) First Name              Middle Name             Last Name

  United States Bankruptcy Court for the: District of         Connecticut

  Case number        23-30944
  (if known)                                                                                                                                   ✔ Check if this is an
                                                                                                                                               ❑
                                                                                                                                                    amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ❑ No. Go to Part 2.
        ✔ Yes.
        ❑
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
        claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
        amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
        fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                             Total claim      Priority        Nonpriority
                                                                                                                                              amount          amount
  2.1 City of Meriden                                    Last 4 digits of account number                                         unknown          unknown             $0.00
      Priority Creditor’s Name
                                                         When was the debt incurred?
         Attn: Michelle Kane, Tax Collector
         142 E Main St
         Number      Street                              As of the date you file, the claim is: Check all that apply.

         Meriden, CT 06450-5605                          ❑ Contingent
         City           State              ZIP Code      ❑ Unliquidated
                                                         ❑ Disputed
         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑                                               Type of PRIORITY unsecured claim:
         ❑ Debtor 2 only                                 ❑ Domestic support obligations
         ❑ Debtor 1 and Debtor 2 only                    ✔ Taxes and certain other debts you owe the government
                                                         ❑
         ❑ At least one of the debtors and another       ❑ Claims for death or personal injury while you were intoxicated
         ❑ Check if this claim is for a                  ❑ Other. Specify
            community debt

         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




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             Case 23-30944               Doc 12       Filed 12/21/23             Entered 12/21/23 15:14:51                      Page 2 of 11
Debtor 1       HEATHER                  ANN                  O'BRIEN TRECIOKAS                Case number (if known) 23-30944
               First Name               Middle Name         Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.           Total claim   Priority      Nonpriority
                                                                                                                                amount        amount
  2.2 Department of Revenue Services               Last 4 digits of account number                                    unknown       unknown         $0.00
      Priority Creditor’s Name
                                                   When was the debt incurred?
       Attn: Manager, Bankruptcy Dep't
      450 Columbus Blvd Ste 1
      Number     Street                            As of the date you file, the claim is: Check all that apply.

      Hartford, CT 06103-1837                      ❑ Contingent
      City            State             ZIP Code   ❑ Unliquidated
                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                            Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                              ❑ Domestic support obligations
      ❑ Debtor 1 and Debtor 2 only                 ✔ Taxes and certain other debts you owe the government
                                                   ❑
      ❑ At least one of the debtors and another    ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a               ❑ Other. Specify
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  2.3 Internal Revenue Service                     Last 4 digits of account number                                    unknown       unknown         $0.00
      Priority Creditor’s Name
                                                   When was the debt incurred?
       Centralized Insolvency Operation
      Po Box 7346
      Number      Street                           As of the date you file, the claim is: Check all that apply.

      Philadelphia, PA 19101-7346                  ❑ Contingent
      City             State      ZIP Code         ❑ Unliquidated
                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                            Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                              ❑ Domestic support obligations
      ❑ Debtor 1 and Debtor 2 only                 ✔ Taxes and certain other debts you owe the government
                                                   ❑
      ❑ At least one of the debtors and another    ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a               ❑ Other. Specify
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       page 2 of 11
                Case 23-30944               Doc 12          Filed 12/21/23              Entered 12/21/23 15:14:51                          Page 3 of 11
Debtor 1          HEATHER                  ANN                      O'BRIEN TRECIOKAS                 Case number (if known) 23-30944
                  First Name               Middle Name             Last Name

      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 AT&T Mobility LLC / AT&T Wireless                                  Last 4 digits of account number                                                         unknown
      Nonpriority Creditor’s Name
                                                                         When was the debt incurred?
         c/o Bankruptcy Dept. Attn: Manager
         4331 Communications Dr Flr 4W
                                                                         As of the date you file, the claim is: Check all that apply.
         Number          Street
                                                                         ❑ Contingent
                                                                         ❑ Unliquidated
         Dallas, TX 75211
         City                     State                    ZIP Code
                                                                         ❑ Disputed
         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑
                                                                         Type of NONPRIORITY unsecured claim:

         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ❑ Other. Specify
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes
  4.2 Best Buy/CBNA                                                      Last 4 digits of account number                                                          $914.00
      Nonpriority Creditor’s Name
                                                                         When was the debt incurred?
         Attn: Manager, Bankruptcy Dept
         PO Box 70601
                                                                         As of the date you file, the claim is: Check all that apply.
         Number              Street
                                                                         ❑ Contingent
                                                                         ❑ Unliquidated
         Philadelphia, PA 19176-0601
         City                  State                       ZIP Code
                                                                         ❑ Disputed
         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑
                                                                         Type of NONPRIORITY unsecured claim:

         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify Credit Card
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




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Debtor 1       HEATHER                  ANN                  O'BRIEN TRECIOKAS              Case number (if known) 23-30944
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.3 Capital One Bank (USA), N.A.                               Last 4 digits of account number                                                    $126.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Manager, Bankruptcy Dept
      Po Box 31293
                                                                 As of the date you file, the claim is: Check all that apply.
      Number            Street
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Salt Lake City, UT 84131
      City                   State                    ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.4 CapitalOne Bank, NA/Kohl's                                 Last 4 digits of account number                                                    $924.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Manager, Bankruptcy Dept
      PO Box 3043
                                                                 As of the date you file, the claim is: Check all that apply.
      Number            Street
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Milwaukee, WI 53201
      City                State                       ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        HEATHER                 ANN                  O'BRIEN TRECIOKAS              Case number (if known) 23-30944
                First Name              Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.5 Credence Resource Management                               Last 4 digits of account number                                                    $345.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                07/12/2023
       Attn: Manager, Bankruptcy Dept
      17000 Dallas Pkwy Ste 20
                                                                 As of the date you file, the claim is: Check all that apply.
      Number           Street
      Dallas, TX 75248
                                                                 ❑ Contingent
      City                     State                  ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Collection Agency
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Cox Communications Inc., Original Creditor
  4.6 Eversource Energy                                          Last 4 digits of account number                                                   unknown
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Manager, Billing Dept.
      107 Selden St
                                                                 As of the date you file, the claim is: Check all that apply.
      Number              Street
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Berlin, CT 06037-1616
      City                  State                     ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.7 Hartford Parking Authority                                 Last 4 digits of account number                                                   unknown
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Jill Turlo, CEO
      11 Asylum St. #2
                                                                 As of the date you file, the claim is: Check all that apply.
      Number           Street
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Hartford, CT 06103-2202
      City                  State                     ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
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                First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
  4.8 Jefferson Capital Systems LLC                               Last 4 digits of account number                                                    $612.74
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?                03/01/2019
       Attn: Manager, Bankruptcy Dep't
      Po Box 17210
                                                                  As of the date you file, the claim is: Check all that apply.
      Number               Street
      Golden, CO 80402-6020
                                                                  ❑ Contingent
                                                                  ❑ Unliquidated
                                                                  ✔ Disputed
      City                State                        ZIP Code
                                                                  ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                     priority claims
                                                                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify Collection Agency
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.9 Meriden Water Division                                      Last 4 digits of account number                                                  $2,000.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?
       Attn: Richard Meskill, Director
      117 Parker Ave
                                                                  As of the date you file, the claim is: Check all that apply.
      Number               Street
                                                                  ❑ Contingent
                                                                  ❑ Unliquidated
      Meriden, CT 06450-5925
      City                 State                       ZIP Code
                                                                  ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.10 New Jersey Turnpike Authority                               Last 4 digits of account number                                                   unknown
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?
       Attn: Director of Tolls
      1 Turnpike Plz
                                                                  As of the date you file, the claim is: Check all that apply.
      Number               Street
                                                                  ❑ Contingent
                                                                  ❑ Unliquidated
      Woodbridge, NJ 07095-1229
      City                 State                       ZIP Code
                                                                  ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes


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   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.11 RocketLoans                                                Last 4 digits of account number                                                  $7,266.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                04/25/2023
       Attn: Manager, Bankruptcy Dept
      1274 Library St.
                                                                 As of the date you file, the claim is: Check all that apply.
      Number              Street
      Detroit, MI 48226
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Unsecured Loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.12 SYNCB/Amazon                                               Last 4 digits of account number                                                  $1,158.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Manager, Bankruptcy Dept
      PO Box 365015
                                                                 As of the date you file, the claim is: Check all that apply.
      Number              Street
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Orlando, FL 32896
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.13 SYNCB/Lowes                                                Last 4 digits of account number                                                  $1,581.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Manager, Bankruptcy Dept
      PO Box 965005
                                                                 As of the date you file, the claim is: Check all that apply.
      Number              Street
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Orlando, FL 32896
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes


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   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.14 SynchronyBank (CareCredit)                                 Last 4 digits of account number                                                    $373.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Manager, Bankruptcy Dept
      950 Forrer Blvd
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Dayton, OH 45420
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Medical Bill
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.15 TD Bank NA                                                 Last 4 digits of account number                                                  $4,650.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Manager, Bankruptcy Dept
      PO Box 1448
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Greenville, SC 29602
      City                 State                      ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.16 TDRCS/Raymour & Flanigan                                   Last 4 digits of account number                                                    $732.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Manager, Bnakruptcy Dept
      1000 Macarthur Blvd.
                                                                 As of the date you file, the claim is: Check all that apply.
      Number           Street
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Mahwah, NJ 07430
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes


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Debtor 1       HEATHER                  ANN                  O'BRIEN TRECIOKAS              Case number (if known) 23-30944
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.17 United Consumer Financial Srvcs                            Last 4 digits of account number                                                  $4,519.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Manager, Bankruptcy Dept
      865 Bassett Rd
                                                                 As of the date you file, the claim is: Check all that apply.
      Number            Street
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Westlake, OH 44145
      City                   State                    ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1         HEATHER                 ANN                 O'BRIEN TRECIOKAS                Case number (if known) 23-30944
                 First Name              Middle Name        Last Name

   Part 3:       List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
    collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
    agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
    you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 1. Connecticut Department of Revenue                             On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 2.2 of (Check one):       ✔ Part 1: Creditors with Priority Unsecured Claims
                                                                                                 ❑
     c/o Attorney General's Office
                                                                                                 ❑ Part 2: Creditors with Nonpriority Unsecured Claims
    55 Elm St
    Number          Street                                        Last 4 digits of account number

    Hartford, CT 06106-1746
    City                             State       ZIP Code
 2. CONNECTICUT ATTORNEY GENERAL                                  On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 2.2 of (Check one):       ✔ Part 1: Creditors with Priority Unsecured Claims
                                                                                                 ❑
     AAG GARY G WILLIAMS, COLLECTIONS
                                                                                                 ❑ Part 2: Creditors with Nonpriority Unsecured Claims
    PO BOX 120
    Number     Street                                             Last 4 digits of account number

    HARTFORD, CT 06141
    City                             State       ZIP Code
 3. New Jersey Turnpike Authority                                 On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.10 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     Attn: Director of Tolls                                                                     ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                 ❑
    PO Box 5042
    Number      Street                                            Last 4 digits of account number

    Woodbridge, NJ 07095-5042
    City                      State              ZIP Code
 4. PRA Receivables Management, LLC                               On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.14 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
    PO Box 41021                                                                                 ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                 ❑
    Number      Street
                                                                  Last 4 digits of account number
    Norfolk, VA 23541-1021
    City                             State       ZIP Code




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Debtor 1          HEATHER               ANN                     O'BRIEN TRECIOKAS            Case number (if known) 23-30944
                  First Name            Middle Name            Last Name

      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.   Domestic support obligations                                 6a.                          $0.00
 from Part 1
                   6b.   Taxes and certain other debts you owe the government         6b.                          $0.00

                   6c.   Claims for death or personal injury while you were           6c.                          $0.00
                         intoxicated

                   6d.   Other. Add all other priority unsecured claims.              6d.   +                      $0.00
                         Write that amount here.

                   6e.   Total. Add lines 6a through 6d.                              6e.
                                                                                                                   $0.00



                                                                                                Total claim

 Total claims      6f.   Student loans                                                6f.                          $0.00
 from Part 2
                   6g.   Obligations arising out of a separation agreement or         6g.                          $0.00
                         divorce that you did not report as priority claims

                   6h.   Debts to pension or profit-sharing plans, and other          6h.                          $0.00
                         similar debts

                   6i.   Other. Add all other nonpriority unsecured claims.           6i.   +                 $25,200.74
                         Write that amount here.

                   6j.   Total. Add lines 6f through 6i.                              6j.
                                                                                                              $25,200.74




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